Case 2:20-mj-04516-DUTY Document11 Filed 09/25/20 Page lof2 Page ID #:23

FILED
CLERK, U.S. DISTRICT COURT

 

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA September 25, 2020

CENTRAL DISTRICT OF CALIFORNIA
BY: VM DEPUTY

 

 

 

 

 

 

CRIMINAL MINUTES - GENERAL
Case No. 20-4516M Date September 25, 2020

 

Title United States v. Diodayan Cuesta aka Milto Caesedo

 

Present: The Honorable Michael R. Wilner

 

 

Veronica Piper n/a
Deputy Clerk Court Reporter / Recorder
Attorneys Present for Government: Attorneys Present for Defendant:
n/a n/a
Proceedings: ORDER OF DETENTION — SUPERVISED RELEASE ALLEGATION

The Court conducted a detention hearing pursuant to Federal Rule of Criminal
Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a) following Defendant’s arrest for alleged

violation(s) of the terms of Defendant’s LJ probation / X) supervised release.

The Court finds that Defendant has not carried his/her burden of establishing by clear and
convincing evidence [18 U.S.C. § 3142(b-c)] that Defendant:

 —_ will appear for further proceedings as required if released.

(] will not endanger the safety of any other person or the community if
released.

The Court bases its findings on the following:
XX] Allegations in petition
Lack of bail resources
No stable residence or employment
Ties to foreign countries
Previous failure to appear or violations of probation, parole, or release

Nature of previous criminal convictions

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Substance abuse

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CRIMINAL MINUTES - GENERAL
Case No. 20-4516M Date September 28, 2020

 

Title United States v. Diodayan Cuesta aka Milto Caesedo

 

O Already in custody on state or federal offense

O Refusal to interview with Pretrial Services

O

X) Defendant did not oppose the detention request.
* OK

IT IS THEREFORE ORDERED that the defendant be detained pending further
proceedings.

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